                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF MISSOURI
                                 WESTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                              Plaintiff,    )
                                            )
               v.                           )      No. 09-00224-11-CR-W-HFS
                                            )
ALEXANDRA S. MCKINNEY,                      )
                                            )
                              Defendant.    )

                                           ORDER

       Upon motion of the United States of America, good cause having been shown for the

granting of such motion, it is hereby

       ORDERED, this 28th day of June, 2010, that the Indictment in this matter is hereby

       DISMISSED as to defendant Alexandra S. McKinney.




                                            /s/ Howard F. Sachs
                                            HOWARD F. SACHS
                                            Senior United States District Judge


Kansas City, MO




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